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                      EXHIBIT A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                District of Columbia

               United States of America et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:20-cv-03010 (APM)
                                                                              )
                           Google LLC                                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:
                                              Apple Inc., One Apple Park Way, Cupertino, CA 95014
                                                       (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:

           See attached schedule.

 Place: United States Attorney's Office                                                 Date and Time:
          450 Golden Gate Avenue, 11th Floor                                                                 03/02/2021 9:00 am
          San Francisco, CA 94102

    ✔u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/01/2021

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Kenneth M. Dintzer
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
United States of America                                                , who issues or requests this subpoena, are:
Kenneth M. Dintzer, U.S. Department of Justice, Antitrust Division, 450 Fifth St. NW, Suite 7100, Washington, D.C. 20530,
Kenneth.Dintzer@usdoj.gov, 202-227-1967
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:20-cv-03010 (APM)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                               EXHIBIT A

                              PLAINTIFFS’ SUBPOENA TO APPLE

                                             DEFINITIONS

           1.   The terms defined below and used in each of these Requests for Production

(“Requests”) should be construed broadly to the fullest extent of their meaning in a good-faith

effort to comply with the Federal Rules of Civil Procedure. These definitions are provided solely

for the purpose of these Requests.

           2.   The terms “Apple,” “Company,” or “you” and their variants mean Apple Inc., its

domestic and foreign parents, predecessors, divisions, subsidiaries, affiliates, partnerships and

joint ventures, and all directors, officers, employees, agents, and representatives of the

foregoing.1 The terms “parent,” “subsidiary,” “affiliate,” and “joint venture” refer to any person

in which there is partial (25 percent or more) or total ownership or control between you and any

other person.

           3.    The term “addressing” means, in whole or in part, analyzing, constituting,

summarizing, reporting on, considering, recommending, setting forth, or describing a subject.

Documents that contain reports, studies, forecasts, analyses, plans, proposals, evaluations,

recommendations, directives, procedures, policies, or guidelines regarding a subject should be

treated as documents that address the subject. However, documents that merely mention or refer

to a subject without further elaboration should not be treated as documents that address that

subject.




1
 This includes: Apple Canada Inc.; Canada Apple Computer Trading (Shanghai) Co., Ltd.; Apple Distribution
International Limited; Apple Europe Limited; Apple France; Apple GmbH; Apple Japan, Inc.; Apple Operations
Limited; Apple Operations Europe Limited; Apple Operations International Limited; Apple Pty Limited; Apple
Sales International Limited; Apple Value Services, LLC; and Braeburn Capital, Inc.

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        4.      The term “agreement” means any understanding, whether formal or informal,

written or unwritten, express or implied.

        5.      The terms “and” and “or” have both conjunctive and disjunctive meanings.

        6.      The term “any” means each and every.

        7.      The term “communication” means every disclosure, receipt, transfer, exchange of

information, inquiry, or opinion however made.

        8.      The term “collaborative work environment” means a platform used to create, edit,

review, approve, store, organize, share, and access documents and information by and among

authorized users, potentially in diverse locations and with different devices. Even when based on

a common technology platform, collaborative work environments are often configured as

separate and closed environments, each one of which is open to a select group of users with

layered access control rules (e.g., reader vs. author vs. editor). Collaborative work environments

include Microsoft SharePoint sites, eRooms, document management systems (e.g., iManage),

intranets, web content management systems (“CMS”) (e.g., Drupal), wikis, and blogs.

        9.      The term “customer” or “consumer” means an end user, as opposed to a

distribution partner.

        10.     The term “data dictionary” means documentation of the organization and structure

of the databases or data sets that is sufficient to allow their reasonable use by the Department,

including, for each table of information: (a) the name of the table; (b) a general description of the

information contained; (c) the size in both number of records and megabytes; (d) a list of fields;

(e) the format, including variable type and length, of each field; (f) a definition for each field as it

is used by Apple, including the meanings of all codes that can appear as field values; (g) the

fields that are primary keys for the purpose of identifying a unique observation; (h) the fields that



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are foreign keys for the purpose of joining tables; and (i) an indication of which fields are

populated.

           11.   The terms “Department,” “DOJ,” or “Division” mean the U.S. Department of

Justice, including any sections or divisions, including the Antitrust Division.

           12.   The term “device” means any electronic equipment (e.g., laptop, desktop

computer, mobile phone, tablet, home service device, smart television, smartwatch, soundbar,

home appliance) that uses a software OS and is primarily used to communicate, store, transfer, or

convey information.

           13.   The term “digital ad” or “digital advertising” means all types of ads filled by way

of the internet—as opposed to out-of-home, broadcast television, or print—including video ads,

display (desktop and mobile) ads, social ads, search ads, in-app ads, native/rich text ads, and any

other ad categorized as a type of digital advertising by Apple in its ordinary course of business.

           14.   The term “discussing” means, in whole or in part, analyzing, constituting,

summarizing, reporting on, considering, recommending, setting forth, or describing a subject.

Documents that contain reports, studies, forecasts, analyses, plans, proposals, evaluations,

recommendations, directives, procedures, policies, or guidelines regarding a subject should be

treated as documents that discuss the subject. However, documents that merely mention or refer

to a subject without further elaboration should not be treated as documents that discuss that

subject.

           15.   The term “documents” is defined to be synonymous in meaning and equal in

scope to the usage of the phrase “documents or electronically stored information” in Rule

34(a)(1)(A) of the Federal Rules of Civil Procedure and includes electronically stored

information (“ESI”) of any kind in the possession, custody, or control of the Company.



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        16.    The term “ESI Order” refers to the Stipulation and Order Regarding Discovery

Procedures entered by the court on January 21, 2021 (Dkt. No. 99).

        17.    The terms “general search service” or “general search engine” mean a service that

allows consumers to find responsive information on the internet by entering keyword queries.

Consumers may use general search services to perform several types of searches, including

navigational queries (seeking a specific website), informational queries (seeking knowledge or

answers to questions), and commercial queries (seeking to make a purchase). Examples of

general search services include Google, Bing, Yahoo, and DuckDuckGo.

        18.    The term “Google Assistant” means the assistant service offered by Google that

may be accessed or invoked from a device via specified access points (e.g., hardware activation

via the long-press home button, handsfree activation through wake words or hotwords).

        19.    The term “Google Android” means devices approved explicitly or tacitly by

Google as “Android compatible” by passing Google’s Compatibility Test Suite.

        20.    The term “Google” means Google LLC, its domestic and foreign parents,

predecessors, divisions, subsidiaries, affiliates, partnerships and joint ventures, and all directors,

officers, employees, agents, and representatives of the foregoing. The terms “parent,”

“subsidiary,” “affiliate,” and “joint venture” refer to any person in which there is partial (25

percent or more) or total ownership or control between Google and any other person.

        21.    The term “include” and any derivations thereof mean to include, but not be

limited to.

        22.    The term “internet of things” or “IoT” means devices other than computers,

phones, or tablets that may connect to the internet or to other devices, including smart speakers,

smart TVs, wearable devices, and automotive devices.



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        23.     The term “local ad” or “local advertising” means a local ad on Google as defined

by the Company or by Google, and similar ads on Bing, Yahoo, and DuckDuckGo.

        24.     The term “messaging application” refers to any electronic method used by Apple

and its employees to communicate with each other or entities outside Apple for business

purposes. “Messaging application” includes platforms for email, chats, instant messages, text

messages, and other methods of group and individual communication (e.g., Microsoft Teams,

Slack). “Messaging application” may overlap with “collaborative work environment.”

        25.     The term “MNO” means Mobile Network Operator.

        26.     The term “mobile operating system” means system software for a mobile wireless

device (e.g., Android, iOS) that manages device hardware and supports application software.

        27.     The term “mobile device” includes mobile phones and tablets.

        28.     The term “ODM” means original design manufacturer.

        29.     The term “OEM” means original equipment manufacturer.

        30.     The term “OS” means operating system.

        31.     The term “person” includes you and means any natural person, corporate entity,

partnership, association, joint venture, government entity, or trust.

        32.     The term “plans” includes preliminary proposals, recommendations, or

considerations, whether finalized or adopted.

        33.     The term “relating to” means, in whole or in part, constituting, containing,

reporting on, considering, recommending, setting forth, concerning, discussing, describing,

analyzing, identifying, referring or alluding to, or stating.

        34.     The term “Relevant Product or Service” means, and submit information

separately for each product or service offered by Apple within one or more of the following



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categories, including all versions since 2004 of any:

             a. Operating system(s), including macOS, iOS, iPadOS, Watch OS, and tvOS;

             b. Web browser and any web browser engine, including Safari and WebKit;

             c. Internet search engine, whether or not released to the public or licensed from

                  another person, including general and specialized search services (e.g., Google,

                  Bing, Yelp, Expedia, etc.);

             d. Voice-activated application or service, including applications or services

                  offered by Apple (e.g., Siri) or third-party applications or assistants offered on

                  any Relevant Product or Service (e.g., Google Assistant);

             e. Internet-, mobile-, WiFi-, or entertainment-capable device, including iPhones,

                  iPads, Macs, Apple Watch, HomeKit-compatible products (e.g., HomePod), or

                  Apple TV (or TV+) sold by Apple;

             f. Video or music streaming services;

             g. Digital advertising;

             h. Software applications;

             i.   News services provided by Apple to its users, for example, Apple News;

             j.   Device-based search features of an OS, including Spotlight;

             k. Map-based search services, including those offered by Apple (e.g., Apple

                  Maps) or third-party applications and assistants offered on any Relevant

                  Produce or Service (e.g., Google Maps, Waze).

       35.        The term “RSA” means Revenue Sharing Agreement.




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       36.     The term “sales” means net sales, i.e., total sales after deducting discounts,

returns, allowances, and excise taxes. “Sales” includes sales of the Relevant Product or Service

whether manufactured by Apple itself or purchased from a third party and resold by Apple.

       37.     The term “search access point” means any application, software, or service that is

capable of using or invoking an internet search engine. Examples of search access points include

web browsers (mobile and desktop), applications, widgets, and voice assistants.

       38.     The term “search ad” or “search advertising” means all types of ads generated in

response to online search queries, including general search text ads (offered by general search

engines or general search services, such as Google and Bing) and other, specialized search ads

(offered by general search engines or general search services, and specialized search providers

such as Amazon, Expedia, or Yelp).

       39.     The term “senior management” means any Company officer or employee above

the level of vice president or general manager, including senior vice presidents, Apple Fellows,

and Board Members.

       40.     The term “sensitive Personally Identifiable Information” or “sensitive PII” means

information or data that would identify an individual, including a person’s Social Security

Number; or a person’s name, address, or phone number in combination with one or more of their

(a) date of birth; (b) driver’s license number or other state identification number, or a foreign

country equivalent; (c) passport number; (d) financial account number; or (e) credit or debit card

number.

       41.     The term “Sensitive Health Information” or “SHI” means information or data

about any individual’s health, including medical records and other individually identifiable

health information, whether on paper, in electronic form, or communicated orally. SHI relates to:



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the past, present, or future physical or mental health or condition of any individual; the provision

of health care to an individual; or the past, present, or future payment for the provision of health

care to an individual.

        42.     The term “specialized search ad” or “specialized search advertising” means search

ads other than general search text ads, including but not limited to shopping ads and product

listing ads (“PLAs”).

        43.     The term “specialized search engines” or “specialized search services” are

services that offer users a narrower, focused set of answers to a narrower set of queries (e.g.,

travel, shopping) than general web search applications, or that enable search of content not easily

accessible on the web (e.g., content on devices or personal content). As compared to general

search engines or services, specialized search engines or services respond to narrower searches in

their areas of specialization, such as retail, travel, local, or non-web content.

        44.     The term “Siri Suggestions” means any predictive feature of Apple’s voice

assistant used to organize, sort, anticipate or otherwise suggest options for what users might want

to do next, such as call into a meeting or confirm an appointment, based on that user’s routines

and how a user utilizes the user’s apps or other Apple device features.

        45.     The term “Smart Stack” means the iOS 14 feature that prearranges widgets on a

user’s home screen based on the apps most used by that consumer—with the right widget

showing up automatically at the right time of day.

        46.     The term “sufficient to show” means information sufficient to provide the

Department with a true and correct disclosure of the factual matter requested.

        47.     The term “text ad” or “text advertising” or “search text ad” or “search text

advertising” or “general search text ad” or “general search text advertising” means a general



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search text ad. General search text ads are sold by general search engines, typically placed just

above or below the organic search results on a search engine results page (“SERP”), and

resemble the organic results that appear on a general search engine’s SERP, with a subtle

notation that they are “ads” or “sponsored.”

       48.     The term “third party” or “third parties” means any person other than you.

       49.     The term “web browser” means any software that allows the user of a desktop or

laptop computer, mobile device, tablet, or similar technology to access or interact with

information on the World Wide Web.

       50.     The term “telemetry” includes the collection, analysis, measurement, or

transmission of user data to or from Apple devices.

       51.     The term “widget” means quick links of information on the Home Screen of an

Apple device from various apps, including a weather app, calendar, news, time, etc.

                                        INSTRUCTIONS

       1.      Direct any questions Apple has relating to the scope or meaning of anything in

this subpoena or suggestions for possible modifications thereto to Christine Sommer, U.S.

Department of Justice, Antitrust Division, 450 5th Street N.W., Suite 7100 Washington,

D.C. 20530, (202) 316-2096 (m) (christine.sommer@usdoj.gov). The response to this subpoena

must be addressed to the attention of Kenneth Dintzer and delivered between 8:30 a.m. and 5:00

p.m. local time on any business day to 450 Fifth Street, NW, Suite 7100, Washington, DC

20530. If Apple wishes to submit its response by U.S. mail, please email Christine Sommer

(christine.sommer@usdoj.gov).

       2.      All documents already produced by Apple in response to Civil Investigative

Demand No. 30474, and not clawed back, need not be reproduced in response to these Requests.



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       3.      These Requests seek all responsive documents within your possession, custody, or

control, whether or not prepared by you or a third party.

       4.      In addition to the specific instructions set forth below, these Requests incorporate

the instructions set forth in Rules 26 and 34 of the Federal Rules of Civil Procedure, the Local

Rules of the U.S. District Court for the District of Columbia, and the Stipulation and Order

Regarding Discovery Procedure (“ESI Order”) (ECF # 99) or the operative version of that order

in place at the time production is made. Subject to a valid claim of privilege, the entire document

must be produced if any part of that document is responsive.

       5.      Unless otherwise specified, these Requests are for all documents in your

possession, custody, or control that were created, altered, or received at any time from January

1, 2010, to the present. Unless otherwise stated, these Requests are for all otherwise responsive

documents relating to the United States or any part thereof, regardless of where those documents

are kept.

       6.      Produce a legible copy of each document requested together with all non-identical

copies and drafts of that document. Subject to the ESI Order, all metadata of electronic

documents must also be produced. You must retain all of the original documents for inspection

or copying throughout the pendency of this case, any appeal(s), and any related proceedings.

       7.      These Requests are continuing in nature, and you must supplement your responses

pursuant to Rule 26(e) of the Federal Rules of Civil Procedure. Plaintiffs specifically reserve the

right to seek supplementary responses and the additional supplementary production of

documents before trial.

       8.      Where a claim of privilege or other protection from discovery is asserted in

objecting to any Request or sub-part thereof, and any document is withheld (in whole or in part)



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on the basis of such assertion, you shall provide a log (“Privilege Log”) in accordance with the

Case Management Order (ECF #85) and ESI Order (ECF #99), or the operative versions of those

orders in place at the time you provide a log.

        9.        Do not produce any sensitive PII or SHI before discussing the information with

Department representatives. If any document or data responsive to a particular Request contains

sensitive PII or SHI that is not responsive to that Request, redact the unresponsive sensitive PII

or SHI before producing the document or data. Provide an index that lists such redacted

documents by document control number. If the index is available in electronic form, provide the

index in that form.

        10.       If documents, data, or other information responsive to a particular Request no

longer exist for reasons other than your document retention policy, describe the circumstances

under which it was lost or destroyed, describe the information lost, list the Request to which it

was responsive, and list persons with knowledge of such documents, data, or other information.

        11.       The singular includes the plural and vice versa.

        12.       The definitions provided herein shall apply to the terms defined regardless of

capitalization.




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                             PRODUCTION REQUESTS

1.    Board of Directors. From January 1, 2002, produce:

      a.          Documents sufficient to identify all Board Members, including their

                  current contact information, contact information during their service on

                  Apple’s Board of Directors (including but not limited to their email

                  addresses), dates they served on the Board, and any other employment or

                  Board positions held during the Member’s term with Apple.

      b.          All minutes, recordings, summaries, strategic plans or analyses, or reports

                  of meetings, whether formal or informal, of the Board of Directors of your

                  company, the members of the Board, and each committee or subgroup and

                  each of its divisions or subsidiaries, addressing or discussing:

             i.          Google, Google’s products or services, any payments by Google to

                         Apple, or competition involving Google, including competition

                         with Apple or other third-parties;

            ii.          Digital advertising; or

           iii.          any Relevant Product or Service.

2.    Agreements. From January 1, 2002, produce:

      a.          All final agreements or exchanged drafts addressing or discussing:

             i.          General or specialized search services or search engines;

            ii.          Siri or voice assistants;

           iii.          Digital advertising;

           iv.           Use of Apple or Google user data;

            v.           Maps-based search services or navigational assistance services;



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                   vi.           Search or other preinstalled or preset default applications on Apple

                                 devices;

                  vii.           Web browsers;

                  viii.          Sales of Apple mobile devices to MNOs; or

                   ix.           Sales of Apple mobile devices by or through MNOs.

             b.           For any agreement or draft agreement pursuant to subpart (a) above,

                          documents addressing or discussing the negotiation, implementation, and

                          enforcement of those agreements or analyzing those agreements;

             c.           Monthly statements, by device type, provided by Google to Apple related

                          to Google’s revenue share payments to Apple made under any Information

                          Services Agreement with Google;

             d.           Documents related to provisions contained in Apple’s Information

                          Services Agreement with Google requiring Apple and Google to cooperate

                          in the defense of the Information Services Agreement to resolve regulatory

                          concerns, including analyses, communications, and presentations; and

             e.           Documents related to provisions contained in Apple’s Information

                          Services Agreement with Google requiring Chief Executive Officers from

                          each party to meet to review and discuss the performance of the

                          Information Services Agreement, referred to as the “Annual CEO Check-

                          In,” including analyses, communications, and presentations.

       3.    Payments. From January 1, 2004, produce documents sufficient to show the

following:




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      a.         By month, any payments made from Google to Apple, broken out by

                 geographic region (US, EU, ME, Asia, Russia, etc.) and by device type

                 (smart phone, desktop, tablet, home device, etc.);

      b.         By month, any payments made by any Google competitor to Apple, under

                 any agreement for a Relevant Product or Service, broken out by

                 geographic region (US, EU, ME, Asia, Russia, etc.) and by device type

                 (smart phone, desktop, tablet, home device, etc.);

      c.         By month, any payments made by Apple to any MNO, under any

                 agreement for a Relevant Product or Service, broken out by geographic

                 region (US, EU, ME, Asia, Russia, etc.) and by device type (smart phone,

                 desktop, tablet, home device, etc.);

      d.         For all (a), (b), and (c), the factor that generated the monthly payment to

                 or from Apple (e.g., number of queries, number of device sales, etc.); and

      e.         Any effects of the following types of payments (including the effects of

                 any increase, decrease, or change in scope of those payments) on the

                 quality, cost, features, time of introduction, prices and terms of device

                 protection plans, or price of any Relevant Product or Service or MNO

                 service:

            i.          Payments received by Apple pursuant to any executed third-party

                        agreement identified in response to Request No. 2; and

           ii.          Payments made by Apple pursuant to any sales agreement with any

                        MNO.

4.    Employees.



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      a.         From January 1, 2004, produce documents sufficient to identify the

                 individuals at Apple responsible for:

            i.          Negotiating, analyzing, approving, or supporting negotiations for

                        Apple’s revenue sharing agreements or any other agreement within

                        the scope of Request 2(a);

           ii.          Performing, reviewing, approving, or requesting analyses relating

                        to any Relevant Product or Service.

      b.         From January 1, 2010, produce all documents related to Apple’s efforts

                 to hire any employees of Google, Bing (Microsoft), Yahoo!, or

                 DuckDuckGo with expertise or experience in Internet search services or

                 search advertising, including:

            i.          John Giannandrea; and

           ii.          Ben Gomes.

5.    Meetings.

      a.         From January 1, 2006, produce:

            i.          Documents related to any meetings at which both (1) Tim Cook,

                        and (2) Sundar Pichai, Larry Page, Sergey Brin, and/or Eric

                        Schmidt were present, including but not limited to notes, minutes,

                        agendas, presentations, business proposals, memoranda,

                        communications, or other recordings. This includes video or

                        telephonic meetings; and

           ii.          Documents related to any meetings at which both (1) Steve Jobs

                        and (2) Sundar Pichai, Larry Page, Sergey Brin, and/or Eric



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                                   Schmidt were present, including but not limited to notes, minutes,

                                   agendas, presentations, business proposals, memoranda,

                                   communications, or other recordings. This includes video or

                                   telephonic meetings.

                b.          From December 1, 2019, produce:

                       i.          All documents (including notes, minutes, agendas, presentations,

                                   business proposals, memoranda, communications , attendee lists,

                                   summaries, emails, follow-up communications, and recordings)

                                   addressing or discussing the meeting referenced in Peter Stern’s

                                   December 20, 2019, email to harrison@google.com; and

                      ii.          All documents addressing or discussing coordination (whether

                                   explicit or implicit) between Apple and Google to act as “one

                                   company.”

        6.      Search development by Apple. From January 1, 2010, produce all documents

discussing or addressing any of Apple’s efforts to develop, acquire, or partner with a general

search service, specialized search service, or other search access point(s) or capabilities.

        7.      Bing. From January 1, 2016, produce all documents from the files of senior

management discussing or addressing Apple’s decision to replace Bing in favor of Google on

Siri and Spotlight.

        8.      Competition. From January 1, 2006, produce:

                a.          Documents sufficient to show Google and its competitors’ annual market

                            shares in the market(s) for any Relevant Product or Service; and

                b.          All documents from senior management that address or discuss:



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             i.          The quality of Google’s general search service or any other general

                         search service; or

            ii.          Google’s general search service compared with any other general

                         search services in terms of quality, protection of user privacy,

                         ability to monetize, or any other metric; or

           iii.          Google’s digital advertising functionality and pricing.

9.    Monetization of Search. From January 1, 2010, produce:

      a.          Documents discussing or addressing monetization of internet searches or

                  Map searches on Apple devices;

      b.          For each Relevant Product or Service, documents sufficient to show:

             i.          Total revenue received by Apple;

            ii.          Number of devices served by the provider of that product or

                         service;

           iii.          Number of Apple user searches served by the provider of that

                         product or service;

           iv.           Number of Apple user searches monetized by the provider of that

                         product or service;

            v.           Revenue received by Apple for user searches monetized by the

                         provider of that product or service; and

           vi.           Payments made by Apple to MNOs for, or related to, user searches

                         on Apple devices of that product or service.




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      c.          Any communications (including attachments) between Apple and any

                  third party regarding the monetization of internet searches or Map

                  searches originating from Apple devices.

10.   Voice Assistants. From January 1, 2010, produce:

      a.          Documents sufficient to show:

             i.          The source(s) of results returned by user inquiries made using

                         Apple’s voice assistant system (e.g., Siri results sourced by Google

                         or Yelp); and

            ii.          Apple’s use and licensing of user data generated by Siri.

      b.          For all sources identified in subsection (a)(i), documents related to the

                  reasons why Apple selected these source(s), whether Google or

                  agreements with Google restrict the source(s) Apple can select, what

                  alternative source(s) Apple considered, and any related payment(s) made

                  to or by Apple.

      c.          Documents addressing or discussing the state of competition, entry,

                  expansion, or retrenchment plans in the market for voice assistants.

      d.          All documents addressing voice assistant concurrency, including:

             i.          Legal, technological, or practical limits imposed by a third party or

                         Google;

            ii.          The state of competition, entry, expansion, or retrenchment plans;

                         and

           iii.          Benefits to consumers and innovation.

11.   Dissemination of User Information. From January 1, 2009, produce:



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               a.          Documents sufficient to show all of Apple’s privacy policies, including

                           consumer-facing policies and those in agreements with third parties (e.g.,

                           search providers, vendors, or app developers);

               b.          Documents sufficient to show:

                      i.           Apple’s Intelligent Tracking Prevention protocol and the Identifier

                                   for Advertiser protocol;

                     ii.           The method by which Apple Workbench integrates, or integrated,

                                   with Google Ad Manager, including any policies regarding

                                   features, product strategy, and pricing;

                    iii.           The development of, adoption of, promotion of, and the business

                                   strategy for advertising on the Apple News Platform;

                    iv.            The company’s use of data generated by users of any Relevant

                                   Product or Service and the Apple App Store, including Apple’s

                                   plans to license or otherwise share or make available that data, and

                                   any policies associated with such use, licensing, sharing, or making

                                   available; and

               c.          Documents discussing or addressing Google’s privacy and data tracking

                           policies.

       12.     Browsers. From January 1, 2016, produce all documents from the files of senior

management addressing or discussing Apple’s strategies, policies, and objectives for its web

browser (Safari), including but not limited to:

               a.          Documents addressing or discussing search or other preinstalled or preset

                           default application settings;



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               b.            Documents addressing or discussing the state of competition, entry,

                             expansion, or retrenchment plans;

               c.            Documents addressing or discussing users’ ability to change the preset

                             browser default (currently Safari) to a third-party browser;

               d.            Documents addressing or discussing:

                        i.          iOS 14 (from January 1, 2019);

                       ii.          Competing web browsers;

                      iii.          Google Chrome.

               e.            Migration of user traffic away from Safari to third-party browsers (e.g.,

                             Chrome, Firefox) or other internet access points on iPhones (e.g., Siri);

                             and

               f.            RSA payments to Apple.

       13.     Litigation involving Google. From January 1, 2010, produce all documents from

the files of senior management relating to any allegation that Google or any of its employees has

behaved in a manner allegedly violating antitrust laws, including customer and competitor

complaints; threatened, pending, or completed lawsuits; and federal or state investigations.

       14.     Responses to Investigations. From January 1, 2008, produce all information,

documents, or data submitted to any domestic or foreign government entity related to any

investigation into alleged anticompetitive practices by Google.

       15.     Market Studies. From January 1, 2010, produce all information, documents, or

data submitted to any domestic or foreign government entity related to any market study on

mobile OSs, web browsers, internet search, digital advertising, mobile devices, or applications

for mobile devices.



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        16.     Competition-related communications. From January 1, 2008, produce all

documents relating to Apple’s (including its outside counsels’) communications with Google or

any third-party (including Google’s or the third-party’s outside counsel) regarding any actual or

potential antitrust litigation, antitrust oversight, or antitrust investigations, including but not

limited to the Department of Justice’s investigation into Google and this litigation.

        17.     Purchase of Digital Advertising. Produce all documents addressing or discussing

Apple’s business strategy or rationale for selecting companies from which to purchase digital

advertising, including those:

                a.      Comparing, contrasting, or showing the advantages and disadvantages of

                        particular entities, platforms, or other sources of inventory; or

                b.      Addressing or discussing allocation of advertising spend across different

                        entities, platforms, or other sources of inventory.

        18.     Digital Advertising. Produce all documents discussing the advantages or

disadvantages of or otherwise comparing or contrasting different formats, types, or channels of

digital advertising (e.g., search, text, specialized search, PLAs, shopping, display, and local ads),

including but not limited to:

                a.      The process by which Apple sets any budgets or targets for digital

                        advertising spend;

                b.      The marketing functions of different advertising channels (e.g., brand

                        awareness; customer engagement or interest; and customer action,

                        conversion, or purchase), and the substitutability of advertising channels

                        for these functions;




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               c.      The strengths and weaknesses of different advertising channels, including

                       but not limited to audience reach, scale, attribution, measurement, value,

                       and cost;

               d.      Apple’s strategies or reasons for using different formats, types, or

                       channels of digital advertising;

               e.      Apple’s strategies, reasons, or factors used to allocate advertising spend

                       between different formats, types, or channels of digital advertising;

               f.      The substitutability or complementarity of different formats, types, or

                       channels of digital advertising; and

               g.      The price or cost for, or return on investment (“ROI”) or return on

                       advertising spend (“ROAS”) from, digital advertising, including changes

                       over time.

       19.     Bidding strategies. From January 1, 2010, produce documents sufficient to show

the process by which Apple chooses its bids for search advertisements and the strategies it

utilizes, including documents sufficient to identify any and show the process and rationale of any

autobidding strategies or products used or created by Apple.

       20.     Effects of changes by Google to advertising practices or products. Produce all

documents discussing or analyzing any actual or potential effects on Apple related to changes

made by Google to its search advertising products or services, such as Google changing: the

number or size of ads on Google’s SERP; the addition or removal of proprietary services on

Google’s SERP; the change in pricing, incentives, auctions, bundles or discounts for search

advertising; changes in how Google allocates search advertising; or changes to the search

advertising features Google offers, including the addition of autobidding.



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       21.      Provision of Apple information and data. Produce documents sufficient to show

the type of data Apple provided to or received from Google regarding ROAS or ROI on any

form of digital advertising.

       22.      User behavior. From January 1, 2007, produce:

             a. All behavioral or economic analyses, studies, reports, decisional packages, or

                business strategy assessments, discussing or addressing the impact, value, or

                desirability of application preinstallation, application placement, or preset defaults

                on devices;

             b. All documents discussing or addressing whether users can or should be able to

                delete preloaded search access points, change preloaded default settings on search

                access points, or add new search access points; and

             c. All documents discussing or addressing how often users change:

                      i. The preset default search engine on preloaded mobile browsers;

                     ii. The preset default search engine on preloaded mobile search widgets; or

                     iii. The preset default search engine on preloaded voice assistants.

       23.      Communications. Produce the following documents:

                a.            All communications from the files of senior management at Apple

                              addressing or discussing the below products and timeframes:

                         i.          Internet search engines, from January 1, 2002;

                        ii.          Any search access points, from January 1, 2010;

                       iii.          Competition between or development of voice assistants, from

                                     January 1, 2010;




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            iv.          Revenue shares related to internet search engines, from January 1,

                         2004;

            v.           Competition in any product market between Google and Apple, as

                         well as Google and any other company, from January 1, 2004;

            vi.          iOS 14, from January 1, 2019; or

           vii.          Map-related searches or default settings related to maps from

                         January 1, 2010.

      b.          All communications between senior management of Apple and senior

                  management of the following companies:

             i.          Google;

            ii.          Microsoft, including but not limited to Satya Nadella;

           iii.          DuckDuckGo, including but not limited to Gabriel Weinberg;

            iv.          Yandex;

            v.           Naver;

            vi.          Any smartphone OEM or ODM, including but not limited to:

                         Samsung; RIM; HTC; Motorola; LG; HP; Nokia; Kyocera; or

                         Sony Ericsson; or

           vii.          Any MNO, including but not limited to: AT&T; Verizon; T-Mobile;

                         Sprint; Deutsche Telekom; Vodafone; Telefónica; or Orange.

      c.          All communications (including but not limited to notes, documents,

                  messages, and recordings) between Tim Cook and John Giannandrea; and

      d.          All communications between Steve Jobs and any senior officer or director

                  of Google, from January 1, 2002.



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       24.     Maps and map-based assistance. From January 1, 2007, produce from the files

of senior management:

               a.     Any discussions, agreements, or payments between Apple and any third-

                      party discussing or analyzing the provision of map-based or navigational

                      searches originating from Apple devices;

               b.     Any discussions, agreements, or payments between Apple and any third-

                      party regarding Apple supporting maps-based or navigational searches on

                      a third-party app or website;

               c.     All documents discussing or addressing Apple’s efforts to develop or

                      acquire map-based search services, or to solicit assistance to provide these

                      services, including documents regarding the creation, launch, and

                      continued development of Apple Maps;

               d.     All documents discussing or addressing efforts by Apple to introduce or

                      include advertising in its map-based or navigational search service results;

               e.     All documents describing or analyzing changes in the feature set, product

                      quality, or usage of Apple Maps over time;

               f.     All documents comparing the feature set, product quality, or usage of

                      Apple Maps with (i) Google Maps, (ii) Waze, or (iii) any other relevant

                      apps and services, such as Google Search, Bing, and Yelp; and

               g.     Documents sufficient to show the volume of user complaints about Apple

                      Maps by month.

       25.     Telemetry or Diagnostic Data. For each month from January 1, 2010, produce

Apple device telemetry or diagnostic data (including reports or analyses of telemetry data) for



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Apple’s customers separately for the United States, the United Kingdom, the European Union,

and the Russian Federation broken out by device type (e.g., mobile phones, tablets, desktops,

laptops), comprising the following:

               a.     How frequently users change the default search engine in Safari, and to

                      which non-default search engine;

               b.     How frequently users ask Siri for internet searches;

               c.     How frequently users change the default browser on Apple devices, and to

                      which non-default browser;

               d.     How frequently users change the default voice assistant on Apple devices;

               e.     How frequently users activate third-party voice assistants (including but

                      not limited to Google Assistant) on Apple devices; and

               f.     The number of devices with Google, Bing, Yahoo, DuckDuckGo, or any

                      other search service set as the default search in Safari.

       26.     Safari Suggestions. For each month from January 1, 2010, produce data related

to Safari Suggestions for Apple broken out by device type (e.g., mobile phones, tablets, desktops,

laptops), comprising the following:

               a.     Number of searches in the Safari search bar that resulted in a click on a

                      Safari Suggestions website;

               b.     Categories of search terms that resulted in a click on Safari Suggestions;

                      and

               c.     Categories of the websites that received a click from Safari Suggestions.

       27.     Spotlight searches. For each month from January 1, 2010, produce data or other

information sufficient to show for Spotlight searches done on Apple devices:



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              a.       Number of searches on Spotlight;

              b.       The circumstances under which the search will be performed by Spotlight

                       or a general search engine;

              c.       Apple’s categorization (e.g., app searches, weather, maps) of searches

                       done on Spotlight; and

              d.       What users clicked on in response to a Spotlight search.

       28.    App usage on iPhones. For each month from January 1, 2010, produce data

related to app usage on iPhones separately for the United States, the United Kingdom, and the

European Union, comprising the following:

              a.      Ranking of app downloads both by category (i.e., weather, shopping,

                      search, messaging, etc.) and by developer (including Apple and/or third-

                      parties);

              b.      Revenues received by Apple related to app activity, broken down by

                      downloads, in-app purchases, or in-app ad activity; and

              c.      Complaints from consumers ranked by volume of complaints attributable

                      to either the developer or category.

       29.    Studies or reports. For each year from January 1, 2010, produce all studies or

reports (with the backup data) Apple conducted or received from a third-party (e.g., McKinsey

Consulting, Keystone Strategy, Irrational Labs, any MNO, etc.) related to:

              a.      Analysis of the importance of preinstalled default settings pertaining to

                      search engines (e.g., the impact of changing the default search engine on

                      Safari or any other search access point on Apple devices);

              b.      Promotion of different search access points on Apple devices;



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               c.      Reports, estimates, or other statements of market shares for search engines

                       on Apple devices;

               d.      Development of competing search products (e.g., search function that

                       searches across mobile apps, Safari Suggestions, and Spotlight searches);

               e.      Whether Spotlight is, or is not, used in place of general search and, if so,

                       (i) in what circumstances, and (ii) by which users;

               f.      Pricing, quality, or costs of Apple devices, including any analysis of how

                       pricing, quality, or costs are affected by revenue received from Google (or

                       any other search engine or third-party);

               g.      Pricing or costs of mobile network services, including any analysis of how

                       pricing or costs are affected by revenue received from Google (or any

                       other search engine or third-party);

               h.      Comparison of search engines based on search privacy or other quality

                       characteristics, including user experience or performance benchmarking;

                       or

               i.      Competition between mobile operating systems, including studies

                       comparing iOS’s and Android’s relative strengths (or weaknesses).

       30.     Financial Reports. From January 1, 2010, produce annual (or, if not available on

an annual basis, quarterly) ordinary-course financial reports for Apple related to sales revenue,

revenue share payments, and variable costs per device, broken out by device category (e.g.,

phone, tablet, watch, desktop, home speaker, etc.).




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       31.     Devices. For each month from January 1, 2010, for each of Apple’s mobile

device models in the United States, separately by sales channel (e.g., through Apple versus an

MNO, directly to consumers) and MNO, produce data comprising the following:

               a.          The number of active devices;

               b.          Sales information indicating;

                      i.          Device sales volume;

                     ii.          Gross revenue;

                    iii.          Net revenue;

                    iv.           Discount and/or promotional value;

                     v.           Each cost of sales (e.g., manufacturing costs, shipping costs)

                                  tracked by Apple in the regular course of business; and

                    vi.           Gross margins;

               c.          For each search engine, the number of searches conducted through each

                           search access point;

               d.          For each search engine, the number of searches that result in an RSA

                           payment to Apple conducted through each search access point;

               e.          For each search engine, Revenue Services Agreement (RSA) revenues

                           received by Apple conducted through each search access point; and

               f.          For each search engine and each search access point, payments made by

                           Apple to MNOs for, or related to, searches on Apple devices.

       32.     Map-based Searches. For each month from September 1, 2012, produce data for

Apple Maps’ user traffic broken out by (i) device type (e.g., desktop, mobile phone, tablet) and

(ii) method of access (e.g., Apple Maps app, search on DuckDuckGo), comprising the following:



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               a.          Number of users;

               b.          Number of page visits;

               c.          Number of queries, separately by:

                      i.          For a specific numeric address (e.g., 1600 Pennsylvania Avenue

                                  NW); and/or

                     ii.          By category of query term, where available (e.g., gas station, pizza,

                                  restaurant, pharmacy, etc.);

               d.          For each of the categories in subsection (c) of this request, the number of

                           queries:

                      i.          Resulting in the user requesting navigational directions to a site in

                                  the query results;

                     ii.          Resulting in the user calling a phone number shown in the query

                                  results;

                    iii.          Resulting in the user visiting a website shown in the query results;

                    iv.           Resulting in the user taking any other action available in Apple

                                  Maps (e.g., ordering food, making a reservation). Identify each

                                  such action and provide the total number of queries for each

                                  action; and

               e.          Ad revenue

       33.     Navigation-based advertising to users. For each month from September 1, 2012,

produce data for Apple Maps advertisement and user traffic broken out by device type (e.g.,

desktops, mobile phones, tablets) and the category of searches (e.g., specific addresses, food,

restaurants, gas, hospitals), comprising the following:



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      a.    Number of searches;

      b.    Number of searches that showed at least one ad;

      c.    Organic click-through-rate;

      d.    Number of ad clicks;

      e.    Number of ad impressions;

      f.    Search ad revenue;

      g.    Search ad spend, separately for each platform where an Apple Map

            advertisement was shown;

      h.    Digital ad spend;

      i.    Total ad spend;

      j.    Display ad revenue;

      k.    Display ad spend; and

      l.    Purchase revenue, or revenue received from conversions.




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